343 F.3d 950
    Joseph E. WHITFIELD, Cross-Appellant/Appellee,v.Michael BOWERSOX, Superintendent, Potosi Correctional Center; Jeremiah Nixon, Attorney General, State of Missouri, Appellants/Cross-Appellees.
    No. 01-1537.
    No. 01-1538.
    United States Court of Appeals, Eighth Circuit.
    September 2, 2003.
    
      1
      Order Denying Petition for Rehearing and for Rehearing En Banc.
    
    
      2
      Cheryl Ann Pilate, Charles M. Rogers, Wyrsch &amp; Hobbs, Kansas City, MO, Joseph E. Whitfield, pro se, Mineral Point, MO, for Petitioner-Appellee.
    
    
      3
      Stephen David Hawke, Attorney General's Office, Jefferson City, MO, for Respondents-Appellants.
    
    
      4
      On June 17, 2003, the Supreme Court of Missouri, in State v. Whitfield, 107 S.W.3d 253, 256 (Mo.2003), recalled its mandate and set aside Whitfield's death sentence. The Missouri Supreme Court resentenced Whitfield "to life imprisonment without eligibility for probation, parole, or release except by act of the Governor." Id. at 272. Based on the Missouri Supreme Court's action, we vacate sections III.B. and III. C.1 of our panel opinion as moot. Whitfield v. Bowersox, 324 F.3d 1009 (8th Cir. 2003). We also vacate as moot that portion of the district court's January 24, 2001, Memorandum and Order granting Whitfield a writ of habeas corpus pursuant to 28 U.S.C. § 2254 on Whitfield's Ground III.C. relating to Whitfield's death sentence. Whitfield's petition for rehearing by the panel is otherwise denied. The petition for rehearing en banc is denied.
    
    